                                EXHIBIT A
         Letters in Support of Samuel Bankman-Fried’s Sentencing Submission
Number                   Name
1                        David Arfin
2                        Joseph Bankman
3                        Gabriel Bankman-Fried
4                        Michele Barry
5                        Stephen Boyd
6                        Jeremy Brest
7                        Paul Brest
8                        Madeline Chaleff
9                        Daniel Chapsky
10                       Edward Dodds
11                       Louis Dron
12                       Mark Dybul
13                       Jamie Forrest
14                       Barbara Fried
15                       Wayne Hsiung
16                       Dr. George Lerner
17                       Barbara Levitt
18                       Judy Mark
19                       Barbara Miller
20                       Edward Mills
21                       Dr. Hassan Minhas
22                       Matthew Nass
23                       David Pearce
24                       Ross Rheingans-Yoo
25                       Carmine Simpson
26                       Douglas Slemmer
27                       Natalie Tien
28                       Francois Venter
29                       Kat Woods
